      Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 1 of 30



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,    Case No. 1:20-cv-03010-APM

v.                                    HON. AMIT P. MEHTA
GOOGLE LLC,

                       Defendant.


STATE OF COLORADO, et al.,

                       Plaintiffs,    Case No. 1:20-cv-03715-APM
v.
                                      HON. AMIT P. MEHTA
GOOGLE LLC,
                       Defendant.




     PLAINTIFF STATES’ RESPONSIVE PROPOSED CONCLUSIONS OF LAW
       Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 2 of 30




                                             TABLE OF CONTENTS



I.     The Recent Decision in FTC v. IQVIA Demonstrates Why General Search Advertising
       is a Relevant Product Market ...............................................................................................1

II.    Google’s SA360 Conduct Harms Competition....................................................................4

III.   The “Refusal to Deal” Doctrine Does Not Apply To Google’s SA360 Conduct ................4

IV.    Google’s Distribution Contracts Harm Competition by Raising Rivals’ Costs to Enter
       Into SVP Content Partnerships ............................................................................................8

V.     Google’s Quality Advantage Arises from Its Anticompetitive Conduct and Thus
       Cannot Qualify as a Procompetitive Justification ................................................................9




                                                               i
           Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 3 of 30




                                                TABLE OF AUTHORITIES
                                                                                                                                   Page(s)

Cases

Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171 (9th Cir. 2016) .................................... 5

Brown Shoe Co. v. United States, 370 U.S. 294 (1962) ................................................................. 3

Covad Comm. Co. v. Bell Atlantic Corp., 398 F.3d 666 (D.C. Cir. 2005) ................................. 5, 6

Fotobom, Inc. v. Google LLC, No. 22-cv-00712, Dkt. 27 (D.D.C. Feb. 27, 2024). ....................... 8

FTC v. Indiana Fed. of Dentists, 476 U.S. 447 (1996) ................................................................. 10

FTC v. IQVIA Holdings Inc., No. 23-cv-06188, 2024 WL 81232 (S.D.N.Y. Jan. 8, 2024) ... 1, 2, 3

FTC v. Qualcomm, 969 F.3d 974 (9th Cir. 2020) ........................................................................... 5

FTC v. Wilh. Wilhelmsen Holding ASA, 341 F. Supp. 3d 27 (D.D.C. 2018) .................................. 3

Illumina, Inc. v. FTC, 88 F.4th 1036 (5th Cir. 2023)...................................................................... 4

McWane, Inc. v. FTC, 783 F.3d 814 (11th Cir. 2015) ................................................................ 3, 8

Mr. Furniture Warehouse, Inc. v. Barclays American/Commercial Inc., 919 F.2d 1517
 (11th Cir. 1990) ........................................................................................................................... 5

Nat'l Soc'y of Pro. Eng'rs v. United States, 435 U.S. 679 (1978) ................................................. 10

NCAA v. Alston, 594 U.S. 69 (2021)............................................................................................... 9

New York v. Facebook, Inc., 549 F. Supp. 3d 6 (D.D.C. 2021)...................................................... 7

New York v. Meta Platforms, Inc., 66 F.4th 288 (D.C. Cir. 2023) ................................................. 5

Nobody in Particular Presents, Inc. v. Clear Channel Comm., Inc., 311 F. Supp. 2d 1048
 (D. Colo. 2004)............................................................................................................................ 3

Novell, Inc. v. Microsoft Corp., 731 F.3d 1064 (10th Cir. 2013) ........................................... 5, 6, 7

Pacific Bell Telephone Co. v. linkLine Comm., Inc., 555 U.S. 438 (2009) .................................... 5

United States v. Anthem, Inc., 855 F.3d 345 (D.C. Cir. 2017) ..................................................... 10

United States v. Bazaarvoice, Inc., No. 13-cv-133, 2014 WL 203966 (N.D. Cal. Jan. 8, 2014) ... 2

United States v. H&R Block, Inc., 833 F. Supp. 2d 36 (D.D.C. 2011) ........................................... 4



                                                                      ii
          Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 4 of 30




United States v. Microsoft, 253 F.3d 34 (D.C. Cir. 2001) .............................................................. 8

United States v. Sungard Data Sys., Inc., 172 F. Supp. 2d 172 (D.D.C. 2001) .............................. 3

Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398 (2004) ............ 5, 6

Viamedia, Inc. v. Comcast Corp., 951 F.3d 429 (7th Cir. 2020) .......................................... 7, 8, 10

Wilk v. Amer. Medical Ass’n, 895 F.2d 352 (7th Cir. 1990) ......................................................... 10



Other Authorities

Areeda & Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their
  Application ¶ 1435h (Fifth Ed. 2023) ....................................................................................... 10




                                                               iii
        Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 5 of 30




I.     The Recent Decision in FTC v. IQVIA Demonstrates Why General Search
       Advertising is a Relevant Product Market

       1.      General search advertising is a relevant product market because general search

ads serve a unique function and have distinct features, purchasing methods, and prices. States

Br. 7-17; SFOF ¶¶ 1-65. 1 The recent decision in FTC v. IQVIA Holdings Inc., No. 23-cv-06188,

2024 WL 81232 (S.D.N.Y. Jan. 8, 2024) (“IQVIA”), addressed these same factors in a similar

product market for a distinct type of digital advertising, illustrating why Google is wrong to

characterize general search advertising as “too narrow” a relevant market. GCOL ¶¶ 19, 25-26.

       2.      In IQVIA, the FTC challenged a proposed merger of two leading platforms for

purchasing healthcare professional (“HCP”) programmatic advertising, which are display ads

targeted to HCPs. IQVIA at *1, *3. A central dispute was whether HCP programmatic

advertising was a relevant product market (as the FTC argued) or whether (as defendants argued)

the FTC improperly excluded other types of digital ads that reach HCPs, such as social media

ads, display ads on healthcare websites like WebMD (called “endemic website ads”), and Google

display ads. Id. at *12, *17-18.

       3.      The IQVIA court held that “HCP programmatic advertising is a relevant product

market” because “social media and endemic websites—and Google [display ads]—are not

reasonably interchangeable alternatives.” Id. at *24. In that case, as here, Dr. Israel testified that

the proposed digital ad markets were “overly narrow and define[] away important competition.”



1
 “SFOF” refers to Plaintiff States’ Proposed Findings of Fact (Dkt. 825), “JFOF” refers to
Plaintiffs’ Proposed Findings of Fact (Dkt. 822), “GFOF” refers to Google’s Proposed Findings
of Fact (Dkt. 828), “SRFOF” refers to Plaintiff States’ Responsive Proposed Findings of Fact,
and “JRFOF” refers to Plaintiffs’ Proposed Responsive Findings of Fact. “States Br.” refers to
Plaintiff States’ Post-Trial Brief (Dkt. 823), “Joint Br.” refers to Plaintiffs’ Post-Trial Brief (Dkt.
820), and “Google Br.” refers to Google’s Post-Trial Brief (Dkt. 826). “GCOL” refers to
Google’s Proposed Conclusions of Law (Dkt. 827) and “SCOL” refers to Plaintiff States’
Proposed Conclusions of Law (Dkt. 824).
                                                   1
        Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 6 of 30




Compare id. at *27 with Tr. 8378:14-8380:2 (Israel) (opining that “plaintiffs define away what is

actually the strongest and very strong competition that Google faces”). The IQVIA court

concluded that it did “not find Dr. Israel’s conception of the market persuasive.” IQVIA at *31.

       4.      The IQVIA court rejected Google’s principal argument here, i.e., that different

kinds of ads are substitutes because advertisers move portions of their budget between those

different kinds of ads to maximize their overall return on investment. GCOL ¶¶ 20-24. The

court explained: “the fact that an agency might shift money around during a campaign does not

establish that these alternative channels are substitutes for the distinct features that programmatic

advertising provides.” IQVIA at *17. Like the IQVIA defendants, Google ignores the established

rule that it is “improper to group complementary goods into the same relevant market just

because they occasionally substitute for one another.” FTC v. Sysco Corp., 113 F. Supp. 3d 1, 31

(D.D.C. 2015). As the IQVIA court explained, “the fact that many companies are competing in a

broad market for advertising dollars does not prove that the FTC’s proposed market here is

unduly narrow.” IQVIA at *22.

       5.      Here, like in IQVIA, advertisers buy different, complementary ad types and

sometimes shift money between them as part of an “overall advertising strategy” with

complementary “components.” Id.; SFOF ¶¶ 24-32; JFOF ¶¶ 407-12, 488-92; see also United

States v. Bazaarvoice, Inc., No. 13-cv-133, 2014 WL 203966, at *24 (N.D. Cal. Jan. 8, 2014).

Both in IQVIA and here, advertisers testified that they would not “take their business to [alternate

ad channels] in response to a price increase” of as much as five percent. IQVIA at * 17; SFOF ¶

9; SRFOF ¶¶ 6-8; JFOF ¶ 498. That shows that advertisers do not substitute general search ads

for any other ad type in response to a “small but significant and non-transitory increase in price,”

which “is usually defined as five percent or more.” FTC v. Wilh. Wilhelmsen Holding ASA, 341



                                                  2
        Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 7 of 30




F. Supp. 3d 27, 47 (D.D.C. 2018); see also SCOL ¶ 8.

       6.      IQVIA’s conclusions were also supported by the Brown Shoe “practical indicia,”

which are equally relevant here. 370 U.S. 294, 325 (1962). Both HCP programmatic ads and

general search ads: (i) have distinct characteristics and uses, compare IQVIA at *14-19 with

States Br. 9-14; (ii) are unlike ads that appear on “walled garden” websites (like Amazon,

Walmart, or other SVPs), compare IQVIA at *15 with Tr. 3858:4-21 (Lowcock) & States Br. 15;

(iii) are purchased by advertisers with “separate budget[s]” and separate “teams within ad

agencies and brands,” compare IQVIA at *19 with SFOF ¶¶ 12-13; (iv) have unique importance

to customers, compare IQVIA at *17-18 (describing functional limits of Google display ads) with

SFOF ¶¶ 8, 11, 26-27, 40-43, 46-48 (describing reasons why advertisers cannot use SVP search

ads) 2; and (v) have distinct pricing, compare IQVIA at *23 with States Br. 16-18.

       7.      In reaching its conclusions, the IQVIA court relied heavily on testimony from ad

agencies because, as buyers of ads, their expenditures are tangible evidence of market behavior.

Id. at *15, *17, *19; SCOL ¶ 9. Plaintiff States likewise rely principally on testimony from ad

buyers. SFOF ¶¶ 22-29, 32, 35-38, 40-41, 44-65. Google responds mainly by citing self-serving

testimony from its employees and its expert, and its minimal citation to advertiser testimony

confirms that advertisers view different ad formats as complements serving distinct purposes.

SRFOF ¶ 2. For these reasons, general search ads is a properly defined relevant market. 3


2
 See also United States v. Sungard Data Sys., Inc., 172 F. Supp. 2d 172, 191-92 (D.D.C. 2001);
Sysco, 113 F. Supp. 3d at 29 (distinguishing different products that “simply cannot and do not
serve as wide an array of customers”).
3
 Contrary to Google’s suggestion (GCOL ¶ 22), an econometric study is not required to define a
relevant market. McWane, Inc. v. FTC, 783 F.3d 814, 829-30 (11th Cir. 2015); Nobody in
Particular Presents, Inc. v. Clear Channel Comm., Inc., 311 F. Supp. 2d 1048, 1082 (D. Colo.
2004) (“a plaintiff may, through sufficient evidence of other indicia of market definition, define a
relevant market without economic study of cross-elasticity of demand”) (collecting cases).

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        Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 8 of 30




II.    Google’s SA360 Conduct Harms Competition

       8.      Google’s delayed support for Microsoft Ads features on SA360 have and continue

to cause significant anticompetitive harm. SFOF ¶¶ 256-80; SRFOF ¶¶ 42-59. As the Court

delineated at summary judgment, Google engaged in actionable “delay [that] was intended to

harm competition,” not “mere transitory delay.” Dkt. 624 at 57; see also Illumina, Inc. v. FTC,

88 F.4th 1036, 1053 (5th Cir. 2023) (anticompetitive conduct can include “late deliveries” (as

opposed to not delivering at all) and “subtly reducing the level of support services” (as opposed

to significantly reducing or eliminating the services); United States v. H&R Block, Inc., 833 F.

Supp. 2d 36, 82 (D.D.C. 2011) (harm to competition includes “limit[ing] the functionality” of

rival’s product and “reserving special features or innovations” for defendant’s own products).

       9.      It is proper for the Court to consider the combined impact of the harm caused by

Google’s distribution contracts and its operation of SA360. Consist with Microsoft, the Court

can “aggregate conduct that is itself deemed anticompetitive (even if minimally so).” Dkt. 624 at

26; JCOL at 26-27; JRCOL at 10-11. Google’s SA360 conduct caused significant, independent

harm to customers, competitors, and the competitive process, all enabled by Google’s

longstanding monopoly power. SFOF ¶¶ 256-80; SRFOF ¶¶ 42-59.

III.   The “Refusal to Deal” Doctrine Does Not Apply To Google’s SA360 Conduct

       10.     Dealing with rivals is the premise of SA360. Cross-platform support is SA360’s

central value, which is why Google promises to operate it as a “neutral” platform for advertising

on Google and on rival general search engines (“GSEs”). SFOF ¶ 149. As Mr. Ramaswamy of

Neeva explained, there is an obvious conflict of interest between selling Google ads on the one

hand and operating SA360 as a platform that supports Google’s competitors. Id.; GFOF ¶ 1752.

Google nonetheless argues that its SA360 conduct is immune from antitrust scrutiny because its

conduct should be understood as a “refusal to deal.” Google Br. 97.

                                                4
          Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 9 of 30




          11.    In fact, Google never refused to deal and has consistently asserted that it never

refused to develop any Microsoft Ads features. At summary judgment, Google told the Court

that “Google did not refuse to build the Microsoft Advertising features at issue.” Dkt. 427 at 42.

And in its Post-Trial Brief, Google asserts that its “conduct … was delayed dealing, not a refusal

to deal.” Google Br. 109. Google also entered into a dispute-resolution process with Microsoft

focused on specific Microsoft Ads features and, even while continuing to delay support in 2020,

continued to assert its willingness to someday support the specific features at issue. SFOF ¶¶

233-35.

          12.    Google relies on cases that are different, in which a monopolist either never

supplied the relevant product to the third party, had ceased supplying the product, or was forced

by law to supply the product. See Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko,

LLP, 540 U.S. 398, 409 (2004) (Verizon had not “voluntarily engaged in a course of dealing with

its rivals” and was not alleged to “ever have done so absent statutory compulsion”); Pacific Bell

Telephone Co. v. linkLine Comm., Inc., 555 U.S. 438, 450 (2009) (same); Covad Comm. Co. v.

Bell Atlantic Corp., 398 F.3d 666, 673 (D.C. Cir. 2005) (same); New York v. Meta Platforms,

Inc., 66 F.4th 288, 305-06 (D.C. Cir. 2023) (Facebook “forbid” use of its platform by certain

new apps and “banned” certain existing apps); Novell, Inc. v. Microsoft Corp., 731 F.3d 1064,

1068-69 (10th Cir. 2013) (Microsoft ceased dealing with Novell in the provision of key APIs);

FTC v. Qualcomm, 969 F.3d 974, 994 (9th Cir. 2020) (Qualcomm “ceased” prior dealing

providing licenses to rival chip suppliers); Mr. Furniture Warehouse, Inc. v. Barclays

American/Commercial Inc., 919 F.2d 1517, 1519 (11th Cir. 1990) (Barclays consistently refused

to deal with plaintiff). 4


4
    Google also cites Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171 (9th Cir. 2016).

                                                    5
       Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 10 of 30




       13.     The factors discussed in Trinko and its progeny are thus inapt, inapplicable, and

unenlightening. Trinko itself distinguished circumstances in which “the defendant was already

in the business of providing a service to certain customers … and refused to supply the same

service to other customers.” 540 U.S. at 410. By contrast, in Trinko, “the services allegedly

withheld are not otherwise marketed or available to the public.” Id. All of the cases cited by

Google show that a challenge to harm inflicted through a voluntary, ongoing course of dealing

does not implicate the principle that companies are generally free to determine with whom they

deal. Trinko, 540 U.S. 585 at 408; Covad, 398 F.3d at 675. That is undeniably true here since

Google’s dealings with Microsoft through the operation of SA360 are voluntary and ongoing.

       14.     In other words, Google’s analysis avoids the initial inquiry: is there, in fact, any

kind of refusal to deal that would require this Court to consider factors justifying an exception to

Trinko? Google Br. 99-100. There is not. Indeed, Google does not cite any case (nor are

Plaintiff States aware of any case) in which a court applied the “refusal to deal” doctrine to

circumstances where, as here, the very product or service supplied by the monopolist exists

precisely to support a competitor’s access to the marketplace.

       15.     The harm to competition here arises from dealing, not refusing to deal. Google

decided to directly disadvantage its own advertiser-customers as a means of discouraging their

use of rival GSEs. Google consistently and constantly deals with the advertisers that are harmed

by Google’s operation of SA360—and it is that harm that allows Google to protect its

advertising monopolies. See Novell, 731 F.3d at 1072 (distinguishing conduct “involv[ing] some


There, the plaintiff asserted that the defendant had refused to deal with it in order to invoke
Aspen Skiing. In rejecting that assertion the court began with the simple fact that the plaintiff
could not show a “refusal to deal” because there had not been a refusal. Id. at 1183. Here,
Plaintiff States do not allege a refusal to deal and do not invoke Aspen Skiing. Ultimately, the
Aerotec court looked past the claimed refusal and evaluated whether plaintiffs had shown harm
to competition, which is exactly what Plaintiff States submit the Court should do here. Id.
                                                 6
         Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 11 of 30




assay by the monopolist into the marketplace—to limit the abilities of third parties to deal with

rivals” to which the “refusal to deal” analysis does not apply). Here, Google’s operation of

SA360 directly and severely “limit[s] the abilities of [advertisers] to deal with [Google’s GSE]

rivals.” Id.; SRFOF ¶¶ 57-59 (SA360 is a “choke point” on Microsoft’s ability to sell search ads

to customers); New York v. Facebook, Inc., 549 F. Supp. 3d 6, 32 (D.D.C. 2021) (a “refusal to

deal” claim is premised on “unilateral conduct that involves only the monopolist’s competitors”).

         16.   Google posits two further arguments in trying to avoid liability for its SA360

conduct. First, Google claims that Plaintiff States assert that “the mere fact that Google offers

SA360 as a cross-search engine advertising tool to advertisers creates an obligation for Google to

build all of the features Microsoft (and other rivals) want, on their timetable, and regardless of

legitimate business considerations.” Google Br. 102. Not so. Plaintiff States contend that

Google—as both a longstanding monopolist in search ad markets and the owner of the principal

tool to place its own search ads and rival search ads in those markets—may not operate that tool

to harm competition. The record demonstrates that Google consistently operates SA360 with

degraded support for rival GSEs, having delayed support features for Microsoft Ads that are

beneficial to SA360’s customers, beyond all reasonable timetables (including Google’s own),

without any legitimate business rationales, and with the intent to harm competition. SRFOF ¶¶

22-62.

         17.   Second, Google argues it cannot be liable for its anticompetitive conduct because

any ruling in favor of Plaintiff States would inevitably require the Court to engage in “central

planning” for which it is “ill suited.” Google Br. 102. That is an attempt to use the prospect of a

remedies phase to defeat a liability verdict, which was expressly rejected in Viamedia, Inc. v.

Comcast Corp., 951 F.3d 429, 480 (7th Cir. 2020). There, the plaintiff, an ad seller, alleged that



                                                  7
       Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 12 of 30




Comcast used its monopoly power in a market for one type of advertising services to force its

smaller retail cable television competitors to stop doing business with the plaintiff in the market

for a different type of advertising services. Id. at 434. Like Google, Comcast argued that it

should prevail on liability because any remedy would require the court to act as a “central

planner[].” Id. at 480.

       18.     The Seventh Circuit emphatically rejected Comcast’s argument because it “puts

the cart before the horse.” Id. The court explained: “If Comcast is found liable, the district court

will then face a decision about appropriate remedies. That will be the time to face the practical

problems Comcast hypothesizes.” Id. Such reasoning is particularly applicable here since the

Court bifurcated adjudication of liability and remedy. Only after its liability ruling should the

Court entertain Google’s arguments as to the administrability of proposed remedies.

IV.    Google’s Distribution Contracts Harm Competition by Raising Rivals’ Costs to
       Enter Into SVP Content Partnerships

       19.     Google’s distribution contracts deprive GSE rivals of the scale they need to

improve their quality. JFOF ¶¶ 985-1066. Limited user scale in turn makes Google’s rivals less

attractive partners for SVPs, causing Google’s rivals to incur greater costs to enter into

competitively-important partnerships. SFOF ¶¶ 285-301; SRFOF ¶¶ 63-71.

       20.     Harm to competition premised on raising rivals’ costs is well established. See

McWane, 783 F.3d at 832; Viamedia, 951 F.3d at 448-49; United States v. Microsoft, 253 F.3d

34, 102 (D.C. Cir. 2001). The Court’s recent decision in Fotobom, Inc. v. Google LLC, No. 22-

cv-00712, recognized the type of harm alleged here. There, this Court granted Google’s motion

to dismiss due in part to plaintiff’s failure to plead harm to competition, explaining that plaintiff

had not alleged “that increased use of its technology would enable other search engines to better

compete with Google.” Id. Dkt. 27 at 14. That is what Plaintiffs alleged and proved here:


                                                  8
       Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 13 of 30




greater use of SVP content by Bing and other rival GSEs would allow them to improve their

results pages and better compete with Google.

V.     Google’s Quality Advantage Arises from Its Anticompetitive Conduct and Thus
       Cannot Qualify as a Procompetitive Justification

       21.     Google’s argument that its superior search quality qualifies as a procompetitive

justification fails as a matter of law. See Google Br. 49. The quality benefits that Google

attributes to the challenged distribution contracts do not result from a healthy, competitive

market, but rather from the contracts’ harm to competition itself through an enduring scale gap.

See NCAA v. Alston, 594 U.S. 69, 101 (2021) (a firm cannot “relabel a restraint as a product

feature and declare it immune from § 1 scrutiny”) (internal citation omitted).

       22.     Google argues that even if its distribution contracts caused anticompetitive harm,

that harm would be justified by the search quality improvements that come from the contracting

process. Google Br. 49. This argument relies on an illusion, i.e., that the playing field for

quality competition is level, and that rivals are free to succeed or fail based on the strength of

their ingenuity and investment in their products. To the contrary, Google’s distribution contracts

ensure an uneven playing field by securing for Google—and denying its rivals—the most

significant sources of search traffic that are essential to achieving scale. JFOF ¶¶ 163-207.

       23.     Because scale is a key input to the creation and testing of quality improvements,

the distribution contracts keep rivals perpetually behind Google in their ability to effectively

improve their product quality and compete on that basis. Joint Br. 29-33; JRFOF ¶ 2110. By

maintaining a scale gap, Google is able to maintain a quality gap between itself and its rivals that

is not simply a function of superior engineering or greater investment. Joint Brief at 29-33.

Google’s distribution contracts make that quality gap self-perpetuating, with increased scale

leading to quality advantages leading to winning contracts that in turn secure a continued scale


                                                  9
       Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 14 of 30




advantage. Id. at 31-33, 49-51.

       24.     Thus, Google’s claim that partners like Apple and Mozilla viewed Google as

having higher quality search results than competitors in 2018, 2020 or         (Google Br. 56-60)

is not a procompetitive justification, but rather the fruit of the poisonous tree. Areeda &

Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application ¶ 1435h

(Fifth Ed. 2023) (describing the continuing effects of an antitrust conspiracy as “fruit of the

poisonous tree”); Viamedia, 951 F.3d at 446 (rejecting argument that customers chose to partner

with monopolist Comcast “on the merits of its offered services” because Comcast’s superiority

derived from its anticompetitive conduct); United States v. Anthem, Inc., 855 F.3d 345, 369

(D.C. Cir. 2017) (Millet, J., concurring) (“[T]o have any legal relevance, a proffered efficiency

cannot arise from anticompetitive effects”).

       25.     The Supreme Court in National Society of Professional Engineers v. U.S. rejected

quality as a procompetitive justification for a rule prohibiting engineers from competing on price.

435 U.S. 679 (1978). So too here, Google improperly defends its anticompetitive distribution

contracts by relying on improved quality derived from them. Google Br. 49-50; See FTC v.

Indiana Fed. of Dentists, 476 U.S. 447, 463 (1996) (rejecting a “quality of care” defense to

anticompetitive conduct); Wilk v. Amer. Medical Ass’n, 895 F.2d 352, 361 (7th Cir. 1990).

Google’s claim that it continues to win these contracts by virtue of its quality ignores the fact

that it maintains that quality advantage by stacking the competitive deck. That is the opposite of

a procompetitive justification.




                                                 10
     Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 15 of 30




Dated: March 22, 2024   Respectfully submitted,

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                                      11
Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 16 of 30




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                                  12
Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 17 of 30




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                                 13
Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 18 of 30




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                                 14
Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 19 of 30




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                                  15
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                                 16
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                                  17
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                                 18
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                                 19
Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 24 of 30




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                                 20
Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 25 of 30




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                                 21
Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 26 of 30




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                                 22
Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 27 of 30




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                                 23
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                                 25
       Case 1:20-cv-03010-APM Document 904 Filed 04/30/24 Page 30 of 30




                              CERTIFICATE ON SERVICE

       On March 22, 2024, I served this Plaintiff States’ Responsive Proposed Conclusions of

Law by email on counsel for Google and counsel for DOJ Plaintiffs in the above-captioned

matters.



 March 22, 2024                                 /s/ Matthew McKinley

                                                Matthew McKinley

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